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                                                          United States District Court
                                                          Central District of California


 UNITED STATES OF AMERICA vs.                                                  Docket No.            SACR 14-66-AG

 Defendant    REYNA PEINADO                                                    Social Security No. 4         0   0   1
       Reyna Murrietta; Reyna Alvarado;
                                                                               (Last 4 digits)
 akas: Reyna Murrietta Peinado

                                            JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                     MONTH   DAY    YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.           9     15   2014

  COUNSEL                                                               Karen Kenney, Pro Bono
                                                                              (Name of Counsel)

     PLEA              X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO             NOT
                                                                                                                 CONTENDERE         GUILTY
  FINDING             There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                      Conspiracy to Commit Mail Fraud in violation of 18 USC § 371 as charged in Count 1 of the Information


JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM
  ORDER

It is ordered that the defendant shall pay to the United States a special assessment of $100.00, which is due
immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25
per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

Under Guideline Section 5E1.2(a), all fines are waived as the Court finds that the defendant has established that
she is unable to pay and is not likely to become able to pay any fine.

Under the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Reyna Peinado, is
hereby committed on Count 1 of the Single-Count Information to the custody of the Bureau of Prisons for a term
of 24 months.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of (2) two years
under the following terms and conditions:

                 1. The defendant shall comply with the rules and regulations of the United States Probation Office and
                    General Order 05-02.

                 2.    During the period of community supervision, the defendant shall pay the special assessment in
                       accordance with this judgment's orders pertaining to such payment.

                 3.    The defendant shall cooperate in the collection of a DNA sample from the defendant.


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                 4. The defendant shall participate in a financial counseling program as approved and directed by the
                    Probation Officer.

                 5.    As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a
                       signed release authorizing credit report inquiries; (2) federal and state income tax returns and a
                       signed release authorizing their disclosure and (3) an accurate financial statement, with supporting
                       document as to all assets, income, expenses, and liabilities of the defendant.

                 6.    The defendant shall maintain one personal checking account. All of defendant's income, 'monetary
                       gain,' or other pecuniary proceeds shall be deposited into this account, which shall be used for
                       payment of all personal expenses. Records of all other bank accounts, including any business
                       accounts, shall be disclosed to the Probation Officer upon request.

         The drug testing condition mandated by statute is suspended based on the Court's determination that the
         defendant poses a low risk of future substance abuse.

         It is further ordered that the defendant surrender herself to the institution designated by the Bureau of
         Prisons on or before 12 noon, on January 9, 2015. In the absence of such designation, the defendant shall
         report on or before the same date and time to United States Court House, 411 West Fourth Street, Santa
         Ana, California 92701-4516.

         The Court strong recommends that the defendant be housed at a facility in Southern California to facilitate
         visitation with the many family and friends who were present in Court at the time of sentencing.


           In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation
           and Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend
           the period of supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue
           a warrant and revoke supervision for a violation occurring during the supervision period.




                         9/15/14
                         Date                                              U. S. District Judge Andrew J. Guilford

           It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified
           officer.


                                                                           Clerk, U.S. District Court



                         9/15/14                            By             L. Bredahl
                         Filed Date                                        Deputy Clerk




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           The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                                       STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                        While the defendant is on probation or supervised release pursuant to this judgment:
           1.     The defendant shall not commit another Federal, state or                10.   the defendant shall not associate with any persons engaged
                  local crime;                                                                  in criminal activity, and shall not associate with any person
           2.     the defendant shall not leave the judicial district without the               convicted of a felony unless granted permission to do so by
                  written permission of the court or probation officer;                         the probation officer;
           3.     the defendant shall report to the probation officer as                  11.   the defendant shall permit a probation officer to visit him or
                  directed by the court or probation officer and shall submit                   her at any time at home or elsewhere and shall permit
                  a truthful and complete written report within the first five                  confiscation of any contraband observed in plain view by
                  days of each month;                                                           the probation officer;
           4.     the defendant shall answer truthfully all inquiries by the              12.   the defendant shall notify the probation officer within 72
                  probation officer and follow the instructions of the                          hours of being arrested or questioned by a law enforcement
                  probation officer;                                                            officer;
           5.     the defendant shall support his or her dependents and meet              13.   the defendant shall not enter into any agreement to act as an
                  other family responsibilities;                                                informer or a special agent of a law enforcement agency
           6.     the defendant shall work regularly at a lawful occupation                     without the permission of the court;
                  unless excused by the probation officer for schooling,                  14.   as directed by the probation officer, the defendant shall
                  training, or other acceptable reasons;                                        notify third parties of risks that may be occasioned by the
           7.     the defendant shall notify the probation officer at least 10                  defendant’s criminal record or personal history or
                  days prior to any change in residence or employment;                          characteristics, and shall permit the probation officer to
           8.     the defendant shall refrain from excessive use of alcohol                     make such notifications and to conform the defendant’s
                  and shall not purchase, possess, use, distribute, or                          compliance with such notification requirement;
                  administer any narcotic or other controlled substance, or               15.   the defendant shall, upon release from any period of
                  any paraphernalia related to such substances, except as                       custody, report to the probation officer within 72 hours;
                  prescribed by a physician;                                              16.   and, for felony cases only: not possess a firearm, destructive
           9.     the defendant shall not frequent places where controlled                      device, or any other dangerous weapon.
                  substances are illegally sold, used, distributed or
                  administered;




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             The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).


                   STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

                     The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine
           or restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments
           may be subject to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution,
           however, are not applicable for offenses completed prior to April 24, 1996.

                    If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay
           the balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

                    The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address
           or residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

                     The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change
           in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C.
           §3664(k). The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party
           or the victim, adjust the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3)
           and for probation 18 U.S.C. §3563(a)(7).

                     Payments shall be applied in the following order:

                              1. Special assessments pursuant to 18 U.S.C. §3013;
                              2. Restitution, in this sequence:
                                        Private victims (individual and corporate),
                                        Providers of compensation to private victims,
                                        The United States as victim;
                              3. Fine;
                              4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                              5. Other penalties and costs.

                                    SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

                    As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit
           report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial
           statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not
           apply for any loan or open any line of credit without prior approval of the Probation Officer.

                   The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
           proceeds shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank
           accounts, including any business accounts, shall be disclosed to the Probation Officer upon request.


                    The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500
           without approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                     These conditions are in addition to any other conditions imposed by this judgment.




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                                                                            RETURN

            I have executed the within Judgment and Commitment as follows:
            Defendant delivered on                                                             to
            Defendant noted on appeal on
            Defendant released on
            Mandate issued on
            Defendant’s appeal
            determined on
            Defendant delivered on                                                             to
      at
                  the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                                United States Marshal


                                                                 By
                       Date                                                     Deputy Marshal




                                                                        CERTIFICATE

            I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office,
            and in my legal custody.

                                                                                Clerk, U.S. District Court


                                                                 By
                       Filed Date                                               Deputy Clerk




                                                       FOR U.S. PROBATION OFFICE USE ONLY


           Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the
           term of supervision, and/or (3) modify the conditions of supervision.

                    These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


                    (Signed)
                               Defendant                                                       Date




                               U. S. Probation Officer/Designated Witness                      Date




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